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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10      UNITED STATES OF AMERICA,                      CASE NO. C12-1282JLR

11                           Plaintiff,                ORDER

12                    v.

13      CITY OF SEATTLE,

14                           Defendant.

15         This matter comes before the court on a stipulated motion by Plaintiff United

16 States of America (“the Government”) and Defendant City of Seattle (“the City”)

17 regarding creation of the Seattle Police Department’s (“SPD”) future accountability

18 system. (Stip. (Dkt. # 297).)

19         During spring 2016, various participants engaged in a working group to discuss

20 the optimal accountability system for the SPD. (See id. at 1-2.) At the conclusion of

21 these meetings, the parties and amicus curie filed pleadings related to their discussions.

22 (Dkt. ## 289-91.) Those pleadings indicate that elements of a potential future


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 1 accountability system implicate provisions of the Consent Decree in this matter. (See

 2 Stip. at 3.) Accordingly, such elements require court approval. (See Consent Decree

 3 (Dkt. ## 3-1, 8, 13) ¶ 219; see also Stip. at 2-3.)

 4          In the instant stipulated motion, the Government and the City request that the court

 5 approve “the City of Seattle’s plan for its legislative authority to draft and consider

 6 legislation concerning the City’s police accountability system.” (Stip. at 6 (proposed

 7 order).) The parties also acknowledge that any legislative proposal may not conflict with

 8 the terms or purpose of the Consent Decree. (Id. at 2, 4.)

 9          The parties stipulate, and the court agrees, that any legislative proposal that

10 implicates the provisions of the Consent Decree requires court approval. (Id. at 3.) The

11 question is when should that review take place? The parties propose that the court

12 conduct its review only after “legislation is passed, finalized and provided to the Court.”

13 (Id. at 4.) The parties’ proposal is inefficient in that it deprives the City of critical court

14 guidance in shaping SPD accountability systems to ensure that the elements adhere to the

15 terms and purpose of the Consent Decree. The parties’ proposal also potentially places

16 the court in the undesirable position of having to “veto” completed legislation. The court

17 has no desire to waste the time of City Council Members who might be placed in the

18 position of considering, debating, and passing proposed legislation that the court

19 ultimately finds is inconsistent with the terms or purpose of the Consent Decree. The

20 better procedure, and the one more likely to achieve adherence to the terms and purpose

21 of the Consent Decree, is for the court to conduct its review prior to City Council and

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 1 mayoral action. The court therefore GRANTS in part and DENIES in part the parties’

 2 stipulated motion (Dkt. # 297) and ENTERS the following order:

 3         The court authorizes the City to draft legislation concerning SPD’s accountability

 4 systems. Any such legislation shall not be presented to the Seattle City Council until the

 5 court has had an opportunity to review it. Within 90 calendar days of the court’s receipt

 6 of the proposed legislation, the court will endeavor to review the legislation to ensure that

 7 it does not conflict with the terms or purpose of the Consent Decree. If the court finds

 8 that such a conflict exists, the court will issue an order advising the parties of (a) which

 9 aspects of the legislation, if any, the court believes conflict with the terms of the Consent

10 Decree, and (b) which aspects of the legislation, if any, the court believes conflict with

11 the purpose of the Consent Decree. Once the court approves the proposed legislation, it

12 may be submitted to the City Council. If the adopted legislation contains terms

13 previously disapproved by the court, or new terms the court has not previously reviewed,

14 the City shall then resubmit the proposed legislation to the court for additional review and

15 approval.

16         Dated this 9th day of August, 2016.

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                                                      A
                                                      JAMES L. ROBART
20                                                    United States District Judge

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